                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

UNITED STATES OF AMERICA                             )
                                                     )
                                                     )      No. 3:05-CR-57
V.                                                   )      (VARLAN/SHIRLEY)
                                                     )
RICHARD K. ROBINSON                                  )


                                             ORDER

               The Court finds after review of the defendant’s Financial Affidavit and

defendant’s answers to the court’s questions, that defendant, Richard K. Robinson, does not

have the funds to retain an attorney of his choice and that the defendant wants to be represented

by counsel.

               Accordingly, I find that the defendant qualifies for appointment of counsel and it

is ORDERED the following counsel will be appointed to represent the defendant.

                      Russell T. Greene
                      905 Locust Street
                      Knoxville, TN 37902
                      Telephone: (865) 329-9974
                      FAX: (865) 523-4623

                                             ENTER:


                                                   s/ H. Bruce Guyton
                                             United States Magistrate Judge




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